Case 19-31443-hdh11 Doc 36 Filed 07/01/19      Entered 07/01/19 15:21:35     Page 1 of 16



                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

      In re:                                § Chapter 11
                                            §
      Rooftop Group International Pte. Ltd. § Case No. 19-31443-hdh11
                                            §
            Debtor.                         §

                   DECLARATION OF DARREN S. MATLOFF

      Pursuant to 28 U.S.C. § 1746, Darren S. Matloff declares as follows:

              1.     My name is Darren Scott Matloff. I am over twenty-one years
      of age, am of sound mind, and am competent in all respects to testify to the
      facts stated in this declaration. I have personal knowledge of all the facts
      stated in this declaration.

              2.     I am a director of Rooftop Group International Pte. Ltd. (the
      “Debtor” or “Rooftop Singapore”), which was formed on January 15, 2014,
      as a private limited liability company organized under the laws of Singapore.
      I make this declaration in opposition to the Motion to Dismiss Bankruptcy
      Filing or, Alternatively, to Lift the Automatic Stay [Docket No. 27] filed by
      Triumphant Gold Limited (“TGL”) in the above-captioned chapter 11 case.

      A.       Rooftop USA

             3.     For over a decade I have been in the business of manufacturing
      and selling toy and hobby-grade drones under the trade name Propel RC®.
      The business was originally organized and operated through Rooftop Group
      USA, Inc. (“Rooftop USA”), which was formed as a California corporation
      in 2008 and operated for several years out of Houston and Austin, Texas. The
      business grew steadily year over year and was profitable. Today, the Propel
      RC brand is highly recognized throughout North America.

             4.    By 2014, however, the business had grown such that it had an
      increasing need both for access to greater capital investment for expansion
      and a more sophisticated finance team to manage its growing operations and
      generate audited financials In 2014, I met Thian Chew, a former Goldman


                                                                             Page 1
Case 19-31443-hdh11 Doc 36 Filed 07/01/19      Entered 07/01/19 15:21:35      Page 2 of 16



      Sachs executive director, who subsequently joined Rooftop USA as its chief
      financial officer. Mr. Chew had also recently founded a private equity firm,
      Polar Ventures Overseas Limited (“Polar”), which he suggested could be a
      potential source of financing for Rooftop USA’s growing needs.

      B.     The Rooftop business moves from Rooftop USA to the Debtor.

              5.     In 2014 and 2015, and with the assistance of its legal counsel,
      DLA Piper, Rooftop USA’s business was restructured to take advantage of
      certain perceived tax attributes under Singapore law and to make it more
      attractive to foreign investors. With suppliers located across China and
      Southeast Asia, I believed it was a logical step in the company’s evolution.
      To that end, the Debtor Rooftop Group International Pte. Ltd. was organized
      on January 15, 2014, as the new parent company of a series of subsidiary
      companies for anticipated business activity in North America, Europe, and
      Asia. The following chart illustrates the corporate structure following this
      corporate restructuring.


                                                         The Debtor




             6.     On January 1, 2015, Rooftop USA conveyed all of its tangible
      and intangible assets to the Debtor via transfers from Rooftop USA to Asian
      Express Holdings Ltd. (“Asian Express”) and then to the Debtor’s parent
      company, Gandiva Investments Limited (“Gandiva”), a limited liability


                                                                             Page 2
Case 19-31443-hdh11 Doc 36 Filed 07/01/19             Entered 07/01/19 15:21:35          Page 3 of 16



      company incorporated in the British Virgin Islands. Gandiva then assigned
      the assets and business operations to the Debtor, which at the time was its
      wholly-owned subsidiary. It is my understanding that this series of transfer
      was necessary or beneficial to the creation of the favorable tax structure that
      the Debtor’s formation was meant to establish.

             7.      Also in January 2015, I contributed 100% of my own
      ownership of the business to an irrevocable family trust (the “Trust”), which
      was formed to hold this and other unrelated investments for the benefit of
      various members of my family. I am not the trustee of the Trust, but I do
      serve as its investment director. Since the formation of the Trust, however, I
      have not received any distribution of any kind from the Trust.

              8.     Today, ownership of the Debtor is currently held by three
      entities: (i) Gandiva, which holds 69% of the stock; (ii) Asset Resolution
      Company SPC, which holds 30% of the stock;1 and (iii) Triumphant Gold
      Limited (“TGL”), which holds 1% of the stock. Gandiva itself continues to
      be held as an asset of the Trust. With Mr. Chew’s assistance, the Debtor
      completed audited financials for 2015 and 2016.

      C.      The Disney License

             9.     In 2016, the Debtor was presented with a significant growth
      opportunity when it was awarded a license by Disney to manufacture a line
      of Star Wars®-themed drones for distribution in the upcoming 2016 holiday
      season. To finance the ramp-up in production for the anticipated demand of
      the new product, as well as growing demand for the Propel RC products, the
      Debtor obtained a series of loans from Polar totaling $15.9 million in the
      spring and summer of 2016. That summer, TGL also made an initial round
      of loans to Rooftop USA totaling $10.0 million.2 That same year, the Debtor
      also obtained $20.0 million in unsecured loans from UOC SPV1 Pte. Ltd.




              1
                Upon information and belief, this entity holds the shares as nominee for another
      of the Debtor’s prepetition lenders, UOC SPV1 Ptd. Ltd.
              2
                Attached as Schedule A to this declaration is a detailed schedule of loans made
      to the Debtor and amounts repaid.


                                                                                        Page 3
Case 19-31443-hdh11 Doc 36 Filed 07/01/19             Entered 07/01/19 15:21:35          Page 4 of 16



      (“UOC”) and another $6.0 million in unsecured loans from Begaline Ltd.
      (“Begaline”).

              10.    Upon information and belief, the loans of TGL and Polar were
      secured by pledges of the Debtor’s purchase orders and accounts receivable,
      as well as by a pledge of a portion of Gandiva’s stock in the Debtor and other
      assets, but were not secured by any lien on the Debtor’s intellectual property
      assets. Upon information and belief, the Debtor’s intellectual property assets
      are not encumbered by any lien or security interest.

      D.      Financial Distress

             11.    From the start, there was significant demand for the Star Wars
      drones, and the Debtor engaged suppliers to manufacture a correspondingly
      large volume of inventory.3 In late 2016, however, disaster struck when the
      launch of the Star Wars drones was postponed until September 2017.
      Nevertheless, at the time this seemed like a temporary setback that had
      nothing to do with the quality of Rooftop’s business model, brand, or
      products. To the contrary, in return for the delayed launch, Disney expressed
      its continued support for the product, which was recognized in the fall of
      2016 with Disney’s License Technology Award. Further, Disney expressed
      willingness to expand the Debtor’s distribution rights to additional global
      markets. Through this time, the Debtor’s retailers (including Walmart and
      Costco) remained largely committed to the product.

              12.    Still, the resulting deferral in the fulfillment of 2016 purchase
      orders and subsequent sales put the Debtor into a significant liquidity crunch.
      The initial loans made by Polar and TGL were short term in nature, with
      maturity dates ranging from December 2016 to March 2018. With all of its
      money tied up in inventory, the Debtor faced the prospect of defaulting under
      its loan obligations.

              13.    In or about January 2017, the Debtor alerted TGL and Polar to
      the problems arising from the Disney launch and asked for a meeting of all
      its lenders. At the time, the delayed launch had triggered technical breaches

              3
              Upon information and belief, title to this inventory has at all times been held by
      Rooftop USA, not the Debtor.


                                                                                        Page 4
Case 19-31443-hdh11 Doc 36 Filed 07/01/19        Entered 07/01/19 15:21:35       Page 5 of 16



      of financial covenants, but I do not believe that Rooftop had defaulted on any
      payment obligations at that time. Moreover, with a combined purchase order
      and commitment pipeline for Star Wars and Propel RC-branded products
      approaching $100 million, I believed that the Debtor would be able to repay
      its creditors by the end of 2017.

             14.    The Debtor’s financial position continued to deteriorate
      through the spring of 2017. Without sufficient liquidity to meet operating
      expenses, the Debtor was unable to pay its Chinese suppliers, some of whom
      even made threats of physical violence (and resorted at times to actual
      violence) against Rooftop employees. At the same time, certain of the lenders
      threatened to declare more substantive defaults and commence legal
      proceedings, which in turn could have triggered breaches of the Debtor’s
      license agreement with Disney.

             15.     Faced with such a cascade of troubles, I engaged in discussions
      with representatives of TGL and Polar to extend their existing maturity dates
      and provide additional financing to support operations through the Disney
      launch. From June to August 2017, Polar advanced another $9,750,000 to
      Rooftop, and TGL advanced another $11,250,000. At the same time, Polar
      and TGL both extended their maturity dates and substantially increased the
      interest rates on the outstanding loan obligations from 15% to 48%. See
      Schedule A.

             16.     Finally, in September 2017, the Debtor’s Star Wars drones hit
      the shelves. Whether as a result of the delayed launch or for other reasons,
      however, sales were substantially lower than anticipated. With retailers
      canceling secondary and tertiary purchase orders and threatening to return
      goods if the Debtor did not lower its costs through cash rebates to the retailers
      to offset their own price discounting, Rooftop realized a significant decline
      in net cash receipts over what was originally projected based on purchase
      orders received.

             17.    Despite its financial difficulties, however, by February 2018
      the Debtor had repaid more than $29.3 million to Polar on loans with an
      original principal balance of $26.75 million. See Schedule A. Over the same




                                                                                Page 5
Case 19-31443-hdh11 Doc 36 Filed 07/01/19        Entered 07/01/19 15:21:35       Page 6 of 16



      period, the Debtor repaid more than $22.3 million to TGL on loans with an
      original principal balance of $21.25 million. Id.

              18.    Still, despite these setbacks, the Debtor and Rooftop USA
      continued to receive and fill purchase orders for Propel RC drones and, to a
      much lesser degree, Star Wars drones. Rooftop USA’s inventory purchases
      were factored through a purchase order financing arrangement provided by
      Star Funding, Inc. (“Star Funding”). Under this arrangement, Star Funding
      would pay suppliers directly for manufactured product, take ownership of the
      inventory, and collect the proceeds from fulfilled purchase orders. After
      retaining its costs and commission, Star Funding would remit the balance to
      Rooftop USA, which used those funds to repay suppliers, employees, and
      other trade vendors.

             19.    However, as the Star Wars inventory continued to
      underperform, gross receipts from sales declined. Suppliers began to require
      Star Funding to repay portions of old debts to induce them to fulfill new
      purchase orders. At the same time, in 2018 retailers imposed payment
      deductions on the Star Funding receivables to account for 2017 returns and
      rebates used to offset their own price reductions and boost the lagging sales
      associated with the fall-out from the failed Star Wars launch. To this end,
      Star Funding began to withhold additional funds against future refunds and
      offsets. As a result, Rooftop USA’s liquidity—and the Debtor’s—dried up
      almost completely.

              20.    The final straw came in late 2018 when a discrepancy arose on
      a $1.6 million letter of credit made out to the Debtor’s largest supplier issued
      by Star Funding to secure product shipments. Based on assurances given by
      Star Funding, the Debtor made assurances to one or more suppliers that the
      letter of credit would be honored, and those suppliers subsequently shipped
      Rooftop product based on that assurance. When Star Funding imposed a stop
      payment on the letter of credit, however, the suppliers’ remaining faith in
      Rooftop evaporated.

             21.     High volume retailers like Walmart and Costco are highly
      sensitive to any indication that a supplier might not be able to deliver a
      sufficiently reliable stream of product to fill the designated shelf space in the


                                                                                Page 6
Case 19-31443-hdh11 Doc 36 Filed 07/01/19        Entered 07/01/19 15:21:35      Page 7 of 16



      retailer’s stores. Stripped of cash by TGL and Polar, and with no other
      apparent source of liquidity to finance continued manufacturing and the
      suppliers’ loss of confidence in the Debtor, the Debtor and other Rooftop
      entities had no ability to issue new orders to manufacture inventory for the
      2019 season. The damage to the Debtor’s business was catastrophic.

              22.    In final effort to prevent an interruption in the availability of
      Propel RC drones to fulfill continuing purchase orders and to keep its brand
      alive, on February 14, 2019, the Debtor entered into a nonexclusive license
      agreement (the “Amax License”) with Amax Industrial Group China Co,
      Ltd. (“Amax”) to use certain of the Debtor’s trademarks to manufacture
      Propel RC-branded drones. The Amax License is governed by the laws of
      the State of California, and provides that any action to enforce the terms of
      the Amax License will be brought in a California court. The Amax License
      authorizes Amax to use these marks in connection with the manufacture,
      advertisement, promotion, and sale of drones in the United States, Canada,
      and Mexico in exchange for a royalty equal to 3.5% of the invoice price of
      all Propel RC product manufactured and shipped by Amax. The Debtor
      estimates this will generate $0.8 to $1.2 million in revenue annually at
      historical sales levels.

             23.     Despite these efforts, and despite the continued strength of the
      Propel RC brand, TGL commenced various legal actions against me, the
      Debtor, and certain of the Debtor’s affiliates to enforce its rights under the
      various loan agreements, including to enforce its rights to a pledge of a
      portion of Gandiva’s shares of stock in the Debtor. By this action, I believe
      that TGL seeks to gain control of the Debtor and its assets to the exclusion
      of the Debtor’s other creditors, despite not holding a perfected security
      interest in the Debtor’s intellectual property.

              24.    Aside from its minimal business activity pertaining to the
      Amax License, however, the Debtor currently has no other operations and
      has no employees. Its remaining assets are composed almost entirely of
      certain patents, trademarks, and other intellectual property. Rooftop USA
      still holds a small amount of inventory in warehouses located in Dallas, TX;
      Seattle, WA; and Vancouver. Rooftop USA is liquidating some of this
      inventory and using other product to fulfill “replenishment” purchase orders


                                                                               Page 7
Case 19-31443-hdh11 Doc 36 Filed 07/01/19           Entered 07/01/19 15:21:35         Page 8 of 16



      for Walmart and other retailers until Amax’s production can to step into the
      breach and ensure a continuous supply of Propel RC products to satisfy
      ongoing demand.4 With purchase orders still being issued for the 2019
      holiday season, the remaining business enterprise is at a delicate juncture.

      E.     The Chapter 11 Filing

            25.     To preserve the remaining business for the benefit of creditors
      and other stakeholders, therefore, on April 30, 2019 (the “Petition Date”),
      the Debtor filed a voluntary petition for relief under chapter 11.

           26.     Despite its formation as a Singapore entity, the Debtor has
      numerous ties to the United States:

                     (a)     The Debtor is the successor to a retail manufacturing
                             and sales enterprise that was organized and operated for
                             several years in the United States through Rooftop USA
                             before the business began to transition to the Debtor and
                             its associated corporate structure in 2015.

                     (b)     The Debtor’s principal assets include trademarks and
                             patents registered in the United States.

                     (c)     The Debtor’s sole licensing agreement and sole source
                             of projected revenue is governed under California law.

                     (d)     The founder, director, and sole remaining officer of the
                             Debtor resides in the United States.

                     (e)     TGL’s director, Danny Yee, is a US citizen with
                             property in the United States.

             27.     The decision to file for protection in the United States rather
      than Singapore was based on a careful evaluation of the Debtor’s alternatives
      in close consultation with legal counsel both in the United States and in
      Singapore. Under chapter 11, I understand the Debtor would receive the
      benefit of the “breathing spell” afforded under 11 U.S.C. § 362, which would
      enable the Debtor to take stock of its current situation, properly evaluate its
      alternatives, and execute upon a viable strategy without interference from

             4
              The proceeds from the sale of this inventory is presently being used by Rooftop
      USA to pay its own employees, suppliers, and other vendors.


                                                                                     Page 8
Case 19-31443-hdh11 Doc 36 Filed 07/01/19         Entered 07/01/19 15:21:35       Page 9 of 16



      TGL or other creditors. Based on discussions with several interested parties,
      I am confident that the Debtor’s remaining intellectual property assets--
      including the Propel RC brand and the Amax License—are valuable assets.
      These assets can be monetized for the benefit of the Debtor’s creditors and,
      in the hands of a capable operator, used to sustain and preserve what has been
      an otherwise successful global business enterprise for nearly fifteen years. In
      addition, as I am the sole remaining officer of the Debtor and reside in the
      United States, it is exceedingly difficult for me to participate fully and
      actively in proceedings in Singapore.

             28.    Against that prospect, I fear that TGL’s goals in seeking
      dismissal of this case or relief from the automatic stay are more selfish in
      nature. As evidenced from the Debtor’s Schedules of Assets and Liabilities,
      the Debtor is patently insolvent; it’s stock is worthless as a financial asset.
      Upon information and belief, therefore, TGL seeks to enforce its charge
      against Gandiva’s stock not to claim valuable collateral from which to repay
      outstanding loans, but to seize control of the Debtor and its assets. Whether
      TGL’s goal is to seize the Debtor’s valuable intellectual property for itself or
      to simply obliterate the Debtor’s business entirely, I do not believe that TGL
      intends—if successful in Singapore—to preserve the Debtor’s assets and
      remaining business operations for the benefit of other creditors, Amax, and
      other stakeholders. TGL’s preference for more aggressive, self-interested
      tactics—whether legally justifiable or not—suggest otherwise.

             29.    Most recently, on June 18, 2019, Singapore counsel filed an
      application in the High Court of the Republic of Singapore for recognition of
      this chapter 11 case as a foreign main proceeding under Singapore law. A
      hearing on that application is currently scheduled for August 15, 2019.

              30.    Accordingly, I believe the interests of the Debtor, its estate, and
      its creditors will best be served by the denial of TGL’s motion so that the
      Debtor may pursue its current efforts to maximize the value of its assets and
      related business operation for the benefit of all stakeholders.




                                                                                 Page 9
Case 19-31443-hdh11 Doc 36 Filed 07/01/19   Entered 07/01/19 15:21:35   Page 10 of 16
Case 19-31443-hdh11 Doc 36 Filed 07/01/19             Entered 07/01/19 15:21:35   Page 11 of 16



                                      SCHEDULE A


                         Polar Ventures Overseas Limited

                                Loan                              Payment
               Date           Principal                     Principal  Interest
            3/30/2016             750,000                            -             -
            3/30/2016             750,000                            -             -
             5/9/2016           1,800,000                            -             -
            5/13/2016           3,200,000                            -             -
            6/24/2016           2,500,000                            -             -
            6/29/2016             500,000                            -             -
            6/30/2016                   -                            -     (165,830)
            6/30/2016                   -                            -      (57,021)
            7/12/2016           1,000,000                            -             -
            7/26/2016           1,000,000                            -             -
            7/28/2016           1,000,000                            -             -
            8/26/2016           1,400,000                            -             -
             9/5/2016           2,000,000                            -             -
            9/30/2016                   -                            -      (42,082)
            9/30/2016                   -                            -     (302,466)
            9/30/2016                   -                            -      (56,712)
            10/21/2016          1,100,000                            -
            10/27/2016                  -                            -     (323,342)
            11/11/2016                  -                            -      (80,877)
            12/29/2016                  -                 (2,750,000)              -
            12/30/2016                  -                            -             -
            12/31/2016                  -                            -     (214,521)
            12/31/2016                  -                            -     (161,096)
            12/31/2016                  -                            -     (299,178)
            12/31/2016                  -                            -      (56,712)
             3/7/2017                   -                            -      (30,000)
            3/31/2017                   -                            -             -
            3/31/2017                   -                            -     (310,685)
            3/31/2017                   -                            -     (166,438)
            3/31/2017                   -                            -     (172,856)
            3/31/2017                   -                            -      (55,479)
            4/30/2017                   -                            -     (101,250)
            5/12/2017                   -                            -      (26,129)
            5/12/2017                   -                            -             -


                          Signature Page to Declaration of Darren S. Matloff
Case 19-31443-hdh11 Doc 36 Filed 07/01/19             Entered 07/01/19 15:21:35   Page 12 of 16



                                Loan                              Payment
               Date           Principal                     Principal  Interest
             6/9/2017                     -                          -      (39,750)
            6/27/2017                     -                          -             -
            6/27/2017                     -                          -             -
            6/27/2017                     -                          -             -
            6/27/2017                     -                          -             -
            6/28/2017                     -                          -     (307,233)
            6/30/2017                     -                          -     (168,288)
            6/30/2017                     -                          -     (106,875)
            6/30/2017                     -                          -      (56,096)
            6/30/2017             2,000,000                          -             -
            7/21/2017             3,000,000                          -             -
            7/31/2017                     -                          -     (396,575)
            7/31/2017                     -                          -     (173,959)
             8/1/2017                     -                          -     (199,356)
             8/8/2017             1,250,000                          -             -
            8/16/2017             2,500,000                          -             -
            8/18/2017             1,000,000                          -             -
            8/31/2017                     -                          -     (483,082)
            8/31/2017                     -                          -     (307,479)
            9/25/2017                     -               (2,250,000)              -
            9/28/2017                     -               (1,500,000)              -
            9/28/2017                     -               (2,250,000)              -
            9/30/2017                     -                          -     (545,548)
            9/30/2017                     -                          -     (230,918)
            10/23/2017                    -                          -      (79,110)
            10/23/2017                    -                          -      (47,466)
            10/23/2017                    -               (1,250,000)              -
            10/31/2017                    -                          -     (426,781)
            10/31/2017                    -                          -     (222,658)
            11/9/2017                     -                          -      (33,288)
            11/9/2017                     -                          -        28,110
            11/9/2017                     -               (4,500,000)              -
            11/9/2017                     -                 (283,696)              -
            11/10/2017                    -                  (55,456)              -
            11/15/2017                    -                 (483,854)              -
            11/21/2017                    -                 (863,948)              -
            11/24/2017                    -               (1,053,563)              -
            11/30/2017                    -                          -     (445,911)
            11/30/2017                    -                          -        49,924


                          Signature Page to Declaration of Darren S. Matloff
Case 19-31443-hdh11 Doc 36 Filed 07/01/19             Entered 07/01/19 15:21:35   Page 13 of 16



                                Loan                             Payment
               Date           Principal                    Principal  Interest
            11/30/2017                   -                          -      (18,613)
            12/6/2017                    -                 (700,624)              -
            12/18/2017                   -               (1,661,332)              -
            12/21/2017                   -                 (821,237)              -
            12/21/2017                   -                 (276,154)              -
            12/31/2017                   -                          -     (186,211)
             1/8/2018                    -                  (15,914)              -
            1/12/2018                    -                  (85,888)              -
            1/16/2018                    -                  (81,143)              -
            1/16/2018                    -                          -             -
            1/24/2018                    -                  (41,278)              -
            1/26/2018                    -                          -      (13,305)
            1/26/2018                    -                 (275,281)              -
             2/1/2018                    -                 (768,390)              -
             3/1/2018                    -                          -     (339,665)
                                26,750,000              (21,967,758)    (7,372,807)




                          Signature Page to Declaration of Darren S. Matloff
Case 19-31443-hdh11 Doc 36 Filed 07/01/19             Entered 07/01/19 15:21:35    Page 14 of 16



                             Triumphant Gold Limited

                                   Loan                            Payment
                Date             Principal                   Principal    Interest
             7/28/2016             7,000,000                          -             -
              9/1/2016             3,000,000                          -             -
             9/30/2016                     -                          - (249,863.01)
             12/31/2016                    -                          - (446,136.98)
             3/31/2017                     -                          - (418,684.93)
             6/28/2017                     -                          - (365,753.43)
             6/28/2017                     -                          -             -
              7/6/2017             3,000,000                          -             -
             7/20/2017             7,000,000                          -             -
             7/31/2017                     -                          - (412,602.74)
             7/31/2017                     -                          - (191,671.23)
              8/1/2017                     -                           - (254,794.52)
              8/8/2017             1,250,000                          -             -
             8/31/2017                     -                          - (534,246.58)
             8/31/2017                     -                          - (240,000.00)
             9/25/2017                     -                  (550,000)             -
             9/25/2017                     -                  (220,000)             -
             9/25/2017                     -                  (300,000)             -
             9/25/2017                     -                  (490,000)             -
             9/25/2017                     -                  (495,000)             -
             9/25/2017                     -                  (495,000)             -
             9/26/2017                     -                  (200,000)             -
             9/26/2017                     -                  (400,000)             -
             9/27/2017                     -                  (200,000)             -
             9/27/2017                     -                  (400,000)             -
             9/28/2017                     -                (2,789,000)             -
             9/28/2017                     -                  (613,000)             -
             9/28/2017                     -                  (398,000)             -
             9/28/2017                     -                (2,220,000)             -
             9/28/2017                     -                  (125,000)             -
             9/28/2017                     -                  (105,000)             -
             9/30/2017                     -                          - (499,767.12)
             9/30/2017                     -                          - (149,769.86)
             10/23/2017                    -                          -   (23,630.14)
             10/23/2017                    -                          -   (47,465.75)
             10/23/2017                    -                (1,250,000)             -
             10/31/2017                    -                          - (254,794.52)


                          Signature Page to Declaration of Darren S. Matloff
Case 19-31443-hdh11 Doc 36 Filed 07/01/19             Entered 07/01/19 15:21:35          Page 15 of 16




             10/31/2017                     -                        -         (147,945.21)
             11/9/2017                      -                (231,589)                    -
             11/10/2017                     -                 (45,270)                    -
             11/15/2017                     -                (394,983)                    -
             11/21/2017                     -                (705,263)                    -
             11/24/2017                     -                (860,052)                    -
             11/30/2017                     -                        -         (364,009.38)
             11/30/2017                     -                        -            40,754.18
             11/30/2017                     -                        -          (12,954.43)
             12/6/2017                      -                (571,938)                    -
             12/18/2017                     -              (1,356,189)                    -
             12/21/2017                     -                (670,397)                    -
             12/21/2017                     -                (225,432)                    -
             12/31/2017                     -                        -         (152,008.98)
              1/8/2018                      -                 (12,991)                    -
             1/12/2018                      -                 (70,112)                    -
             1/16/2018                      -                        -                    -
             1/17/2018                      -                 (66,214)                    -
             1/24/2018                      -                 (33,697)                    -
             1/26/2018                      -                        -          (10,861.42)
             1/26/2018                      -                (224,719)                    -
              2/1/2018                      -                (627,257)                    -
              3/1/2018                      -                        -         (277,277.30)
                                   21,250,000             (17,346,104)          (5,013,483)




                          Signature Page to Declaration of Darren S. Matloff
Case 19-31443-hdh11 Doc 36 Filed 07/01/19             Entered 07/01/19 15:21:35    Page 16 of 16



                                  UOC SPV1 Pte. Ltd.

                                   Loan                            Payment
                Date             Principal                   Principal  Interest
             11/1/2016            15,000,000                       -
             11/25/2016            5,000,000                       -               -
             12/31/2016                    -                       -        (41,111)
             12/31/2016                    -                       -       (203,333)
             3/31/2017                     -                       -       (100,000)
             3/31/2017                     -                       -       (300,000)
             6/30/2017                     -                       -       (126,389)
             6/30/2017                     -                       -       (379,167)
             8/11/2017                     -                       -               -
             10/27/2017                    -                       -     (1,177,778)
                                  20,000,000                       -     (2,327,778)




                                        Begaline Ltd.

                                   Loan                            Payment
                Date             Principal                   Principal  Interest
             12/21/2016            5,000,000                        -              -
             1/20/2017             1,000,000                        -              -
             7/21/2017                     -                        -              -
             12/15/2017                    -                        -              -
              2/6/2018                     -                        -              -
                                   6,000,000                        -              -




                          Signature Page to Declaration of Darren S. Matloff
